EXHIBIT B
                                                                         English




                                         CALL US TODAY: (888) 684-3122




                                           Introduction to the Historic Visa an…
                                                                             an…




Access Your Share of
This Historic Visa &
MasterCard                                   Disclaimer: Neither Certainty
                                           Management nor our fulfillment
Fee Overpayment                        partners at LenCred can guarantee the
                                        amount of your personal settlement
                                            payout. The payout amount is
Settlement                                contingent on factors such as your
                                        processing volume, interchange fees
                                         paid, the number of years (between
                                          2004-2019) you accepted Visa and
Did your business accept Visa or       MasterCard payments, and additional
MasterCard anytime between                 variables. Furthermore, the final
                                        amount will also be influenced by the
January 1, 2004 and January 24,          final number of merchants who opt
2019? If so, then you may qualify to              into the settlement.
share in one of the largest class
action settlement payouts in
                                       Opt-in Deadline               English


history, a staggering $6.1 Billion                 is
Dollars. Visa Inc. and MasterCard
Inc. settled this case and were          Aug.
                                        CALL      30,(888)
                                             US TODAY: 2024684-3122

ordered to repay merchant              Our Team Does All the Legwork
processing interchange fees
overpaid by their customers. To be
included, you must opt into the list
of participating merchants by
August 30th, 2024. You will not be
included unless you opt-in              • This settlement payout is
officially. No personal documents        available to any U.S.-based
or statements are required. To           client who accepted Visa and
apply, we just need your                 MasterCard payments from
business name and basic contact          Jan. 1st, 2004, to Jan. 1st, 2019
information. That's it. Once             (this settlement payout is
                                         retroactive for 15 years).
received, our team will send you
our retainer agreement via
                                        • Funds recovered are split
DocuSign. To learn more about            60/40 with the facilitation
this opportunity, please watch the       team. You retain 60%; the
video below and opt-in by                legal and fintech team
submitting to us your name and           receives 40% (remember, in
information below.                       many cases, the team
                                         members who have been
                                         working on this settlement
                                         have been doing so for 20+
                                         years).

Visa, MasterCard $5.6                   • The individual payout
                                         amounts are not guaranteed
Billion Dollar                           but are estimated at
Settlement with                       ~$5,000-10,000 per million
                                      in Visa/MC charges over the
                                                               English


Retailers is Upheld.                  15-year settlement period
                                      (2004 to 2019).
(From Reuters News).                  CALL US TODAY: (888) 684-3122
                                     • Zero upfront costs to you,
A federal appeals court on            the merchant.
Wednesday upheld a $5.6 billion
antitrust class-action settlement    • Payouts are estimated in the
with more than 12 million             first half of 2025.
retailers that accused Visa Inc.
                                     • Please submit your name
and MasterCard Inc. of
                                      and information below. Our
improperly fixing credit and
                                      legal team will send you your
debit card fees.
                                      DocuSign agreement by the
                                      next business day.
The 2nd U.S. Circuit Court of
Appeals in Manhattan [NY]
                                     • Our legal team does all the
rejected claims that a class
                                      legwork. They will handle all
action should not have been
                                      of the necessary research,
certified because of confusion
                                      qualification assessment,
over who deserved
                                      application, and dispute
compensation, and that the
                                      resolution, if necessary, on
$523 million of legal fees
                                      your behalf, ensuring you
awarded to the retailers' lawyers
                                      receive your full eligible
was too high.
                                      share of this settlement with
                                      our help and support.
The case is [in regards] to
Payment Card Interchange Fee
and Merchant Discount
Antitrust Litigation, 2nd U.S.
Circuit Court of Appeals, No. 20-
339." See Reuters News articles
here (3/15/23) and here (3/27/24).
                              English




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Three Simple Steps
 to Participate in
   the Visa/MC
   Settlement.

1. Complete and submit the opt-
in registration form below.


2. Watch for an email from
lburnett@lencred.com. If you
don't see it appear within 48
hours, please check your Spam or
call us Mon.-Sat. 9-6 Pacific at
(888) 684-3122.


3. Complete and submit the e-
signature agreement in the email
you receive before it expires to be
officially opted in.

     If you owned multiple
  organizations for which you
  processed Visa/MC charges
 between 2004 and 2019, please
                                      submit a separate form for each
                                               EIN # owned.       English




                                            Download
                                      CALL US TODAY: Q & A 684-3122
                                                     (888)
                                                   Flier




 Thank you for contacting us and
   submitting your information.
 Please watch for an email from
  lburnett@lencred.come within
  the next 48 hours. If you don't
 see it appear, please check your
 Spam folder or call us Mon.-Sat.
  9-6 Pacific at (888) 684-3122 for
   help (ask for Victoria Foster).
Once you've received, signed, and
      return this e-signature
 agreement, you will be officially
   opted in. This submission just
tells us you're interested. You are
 not opted in until you complete
   the legal agreement with our
               team.

  As long as you've opted in and
 been approved by no later than
   February 4th, 2025 midnight
  (Eastern time), you should be
      approved, provided the
 information you submitted was
             correct.
      We appreciate your                                                       English

        consideration.

 Thanks, and have a great day!
                                                 CALL US TODAY: (888) 684-3122

The Certainty and LenCred Team




   The Certainty Management team has multiple years of experience helping
   clients improve their profitability through zero-downside cost-reduction, tax
   credit recovery, deep discount health benefits (for groups, individuals, 1099s,
   and more), taxes mitigation strategies, etc. We can lower HVAC costs,
   recover medical underpayments, provide fast business funding, and more.
   Ask us how we can cut your printer and copier lease contracts by 30-60%
   with zero upfront or out-of-pocket expense. Don't miss out on our
   extraordinary "Corporate Benefits Initiative," a program that provides 15+
   health and wellness benefits to any organization with 10+ W-2 employees
   (life insurance, telemedicine, unlimited counseling, 1000+ free prescriptions,
   urgent care, annual exams, and more), all with zero out-of-pocket cost to
   you or to them. We're helping employees get more healthy in hopes of
   lowering the future costs of Medicare. It's win-win all around.
   X
   Do you know anyone with student loans? Our Student Loan Forgiveness
   Program has eliminated over $250 million in Federal loans for thousands of
   students since 2010. We can do the same for you or any student who is no
   longer in school and has at least $20,000 in Federal debt. These are just
   examples of how we're helping our clients to enjoy More Certainty in their
   lives. Learn more about us on our website at https://certaintyteam.com or
   get to know us better through our weekly VoiceAmerica Business radio
   show, Finding Certainty, at www.certaintylive.com. Ask us how we can help
   raise unlimited zero-cost funding for your favorite nonprofits as well. We're
   here to help.
   X
         Welcome to Certainty.                           English


                           X
Have questions? Schedule a time to meet with us or call us
                                 CALL US TODAY: (888) 684-3122
     Monday-Saturday 9 am-6 pm at (888) 684-3122.




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